                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 4:11-CR-12
                                              )
 CHRIS ABLE                                   )

                                            ORDER

        On March 27, 2012, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

 the Indictment in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant remain on bond pending sentencing in this matter (Doc. 440).

 Neither party filed an objection within the given fourteen days. After reviewing the record, the

 Court agrees with the magistrate judge=s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant to 28

 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday, July 2,




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 2012, at 9:00 am.

        SO ORDERED.

        ENTER:


                                   /s/ Harry S. Mattice, Jr.
                                  HARRY S. MATTICE, JR.
                              UNITED STATES DISTRICT JUDGE




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